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                                                                                                        .loHN SToNE CAMPBELL        lll

      TAyToR PoRTER                                                                                     (22s) 38I-024I TELEPHoNE
                                                                                                        (22s) 215-8704 DrREcr FAX
                                                                                                        (22s) 346-8049 FAcsr!ilLE
        LoutsrANA's LAW            FtRM'-'                                                              johnstone.campbell@taylorporter.com



                glNe E 1912
 November 12,2020


 Mr. Mark Mahfouz                                          Via Certffied Mail           -    Return Receipt Requested
 DvNnvlc lNoustRIes, INc.
 400 Poydras Street, Suite 1800
 New Orleans, LA 70i30

 Re        IN THE MATTER OF AN ARBITRATION BETWEEN:
           POSH SAUDI CO. LTD. V. DYNAMIC INDUSTRIES SAUDI ARABIA LTD.
           "POSH ENDEAVOUR" - Charterparty dated l't October 2018

 Dear Mr. Mahfouz

 Please be advised that I have been retained to represent POSH Saudi Co. Ltd. ("POSH Saudi")
 with respect to its claims against Dynamic Industries Saudi Arabia Ltd, ("Dynamic") and Dynamic
 Industries, Inc. ("Dynamic US") arising from of the above-referenced arbitration proceedings.

 A.        Factual Background

 Pursuant to a timecharterparty on an amended SUPPLYTIME 2005 form dated October 1,2018
 (the "charterparty"), POSH Saudi chartered the Offshore Supply Vessel "POSH ENDEAVOUR"
 to Dynamic. Pursuant to subsequent addenda to the chafterparty, the duration of the charter
 extended to January 18,2020.

 Significantly, Dynamic US guaranteed Dynamic's performance under the charterparty pursuant to
 a Parent Company Guarantee granted to POSH Saudi on October 1,2018 (attached hereto as
 Exhibit A).

 B.        Arbitration Proceedings and Final Arbitration Award

 After the charter ended, Dynamic still owed POSH Saudi a sum of Tunes Mtt-t-toN NNe HuNpReo
 AND NTNETv ErcHT TsouseNo, ONp HuNnRpo eNo Srxrv-Spvptt UNIrpp Srares Dollans aNp
 EtcHry CpNrs (US$3,998,167.80) under the charterparty. On May 4, 2020, POSH Saudi
 commenced arbitration against Dynamic before the London Maritime Arbitrators Association
 ("LMAA") pursuant to the charterparty's dispute resolution provision to recover the outstanding
 amounts owed.

 On September 2,2020, the LMAA Tribunal issued a Final Arbitration Award in favor of POSH
 Saudi, for the total sum claimed plus interest (at the contractual rate of 2o/o per month from the due




TAYLOR, PORTER, BROOKS & PHILLIPS L.L.P.     BATON ROUGE                      LAKE CHARLES

www.taylorporter.com                         450 Laurel Street, Suite   800      Post Office Box2477    225.387.3227 PHoNE
                                             Baton Rouge, Louisiana     70801    Baton Rouge, LA7O821   225.346.8049 FAx


                                                 EXHIBIT "E"
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date of each invoice) and costs. The Final Arbitration Award, attached hereto as Exhibit B,
provides as follows:

        (A)WE FIND AND HOLD that the Owners' claim in the sum of
           US$3,998,167 ,80 succeeds in      full.

        (B) WE THERBFORE AWARD AND ADJUDGE that the Charterers shall
            forthwith pay to the Owners the said sum of US$3,998,167.80 (Three
            Million Nine Hundred and Ninety Eight Thousand, One Hundred and
            Sixty-Seven United States Dollars and eighty cents) PLUS interest at the
            contractual rate of 2o/o per month from the due date of each of the invoices
            set out in paragraph 4 of our Reasons until the date of payment.

        (c) WE FURTHER AWARD AND ADJUDGE:

            (i)   that the Charterers shall bear their own costs and pay the Owners' costs
                  of the reference (and the Owners' said costs may, if not agreed, be
                  determined by us or in the High Court in London in the Owners' option
                  on the basis set out in s.63(5) of the Arbitration Act), for which
                  pulpose WE HEREBY RESERVE JURISDICTION to make                         a
                  subsequent Award of Costs;

           (ii) that the Charterers shall further bear and pay the costs of this our Final
                Arbitration Award (inclusive of our fees and interlocutory charges in
                relation hereto) in the sum of f 16,800, PROVIDED ALWAYS that
                il in the first instance, the Owners shall have paid any amount in
                respect of the costs of this our Award they shall be entitled to
                immediate reimbursement of any sum or sums so paid; AND

           (iii) that the Charterers shall pay interest on any sums payable to the
                Owners under sub-paragraph C(i) and (ii) above at the rate of 4.5o/o
                (four and one-half per cent) per annum or pro rata compounded at
                  three-monthly rests from the date of this our Final Arbitration Award
                  until the date of payment or reimbursement as appropriate.

The deadline for any possible appeal to the Final Arbitration Award to be filed has expired,
meaning that the Final Arbitration Award is final and unappealable.

C.     Previous Demands for Payment

        By letters dated September 16,2020 (attached hereto as Exhibit C), and October 8,2020
(attached hereto as Exhibit D), POSH Saudi demanded payment from Dynamic of the principal
sum plus interest and costs awarded by the LMAA Tribunal in the Final Arbitration Award. POSH
Saudi's demand was itemized in the September 16,2020letter as follows:

       (1) US$3,9980167.80 in respect of the principal sum awarded (pursuant to Paragraphs (A)
           and (B) of the Final Arbitration Award);
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           (2) Interest at the contractual rate of 2Yo per month, from the due date of each of POSH
               Saudi's invoices until the date of payment (Pursuant to Paragraph (B) of the Final
               Arbitration Award);

           (3) POSH Saudi's costs of the reference calculated at US$25,828.00 and f525 (pursuant
               to Paragraph (C)(i) of the Final Arbitration Award);

           (4) f,8,400 in relation to the payment made by POSH Saudi to the Tribunal in respect of
               50% of the Tribunal's fees of f16,800 (pursuant to Paragraph (C(ii) of the Final
               Arbitration Award); and

           (5) Interest on (3) and (4) above at the rate of 4.5o/o per annum or pro rata from the date of
               the Final Arbitration Award (September 2,2020) compounded at three monthly rests
               to the date of payment (pursuant to Paragraph (CXii) of the Final Arbitration Award).

           See   Exhibit C.

POSH Saudi has not received any response to the letters dated September 16,2020 and October 8,
2020 and Dynamic has not made any payments in respect of the sums outstanding to POSH Saudi.

D.         Demand for Pavment to Dvnamic Industries. Inc.

in light of Dynamic's failure to pay POSH Saudi the sums owed under the Final Arbitration Award,
POSH Saudi hereby demands payment from Dynamic US pursuant to the Parent Company
Guarantee (Exhibit A). Accordingly, please consider this letter POSH Saudi's formal written
demand to Dynamic US for immediate payment of the sums set forth in Section C above, namely,
US$3,998,167.80 in respect of the principal sum awarded, plus costs of f80925 and US$25,828,
together with interest. Should payment not be forthcoming, or should arrangements for payment
not be made within fifteen (15) days from the date of this letter, we will have no other choice but
to advise our client to commence collection proceedings against Dynamic US under the Parent
Company Guarantee. Should suit by necessary, POSH Saudi will seek recovery of the principal
amount owed, attorneys' fees, court costs, and interest on the amount due. Additionally, POSH
Saudi reserves the right to claim any additional amounts determined to be owed by Dynamic Saudi
as it relates to this matter.

Hopefully, the seemingly unnecessary time and expense of litigation can be avoided by your
immediate          of the amount due. Should you have any questions or comments regarding
the                 direct them to my attention.

S




       Stone Campbell     III
JSCIII:ckd
enclosures
cc:        Corey Whiting (via email: core)r.whiting@kuokgroup.com.sg)
           David Tan (via email: david.tan@kuokgroup.com.sg)
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                                PARENT COMPANY GUARANTEE

This Parent Com                        Guarantee is given and delivered by Dynamic lndustries lnc.
(herein called              to POSH        tco LTD (herein called "COMPANY").
                                            WITNESSETH

ln order to induce COMPANY to enter into an agreement for work to be performed for the Saudi
Aramco CRPO-3648 Project underthe Time CharterforOtfshore Services Vessels Supplytime 2005
dated 1 October, 2018 for the hire of the Endeavour or Enterprise ("Agreement") with Dynamic
lnternational Saudi Arabia LLC ("Contractor"), a subsidiary of PARENT, it is hereby agreed as
follows:

L      PARENT, for itself, its successors and assigns, hereby guarantees           to COMPANY,      its
       successors and assigns, the full and faithful pedormance by Contractor, its successors and
       assigns of each and every one of the terms, provisions, conditions, obligations and
       agre-ements on the part of Contractor to be made, carried out, performed or observed as
       provided in the Agreement;

2.     lf at any time default is made by Contractor in the performance of any of the terms, provisions,
       conditions, obligations and agreements or in any other matter or thing pertaining to the
       Agreement or in the payment of any sums payable pursuant thereto which are to be mqdq
       carried out, performed, paid or observed by Contractor, its successors or assigns, PARENT
       will well and truly perform, or cau$e to be so performed, the obligations and agreements
       contained in the Agreement and will pay any sum that may be payable in consequence of the
       nonperformance by Contractor, its successors and assigns of any of the term$, provisions,
       conditions, obligations and agreements contained in the Agreement;

3.     PARENT covenants and agrees with COMPANY, its successors and assigns that (i) waiver
       by COMPANY of any of the terms, provisions, conditions, obligations and agreements of the
       Agreement, (ii) any modification or changes to the Agreement, (iii) the giving of any consent
       to an assignment or the making of any assignment of the Agreement and (iv) their granting of
       extensions of time to Contractor, its successors and assigns may or any of them be made and
       done without notice to PARENT and without in any way affecting, changing or releasing
       PARENT from its obligation given under this Guarantee, and such changes or extensions of
       time rnay be granted, such waiver and consents may be given and such modifications and
       assignments may be made without notice to or the consent of PARENT and without impairing
       the obligations of the Guarantee hereby given.

4.     Any provisions of the Agreement which limii the liability of Contractor to COMPANY, or the
       rights and remedies of COMPANY against Contractor, shall similarly limit the liabilities
       attaching to PARENT, and the rights and remedies of COMPANY against PARENT, under
       this Guarantee. For the avoidance of doubt, PARENT shall not by virtue of this Guarantee
       assume any liability to COMPANY which is greater or of longerduration than it would have
       owed had PARENT been a partyto the Agreement in substitution for Contractor. Furthermore,
       COMPANY agrees to exercise all reasonable efforts to mitigate any losses, expenses,
       damages, costs and any other adverse impacts of any kind or character resulting from
       Contractor's or PARENT's failure to perform any obligation under the Agreement or this
       Guarantee.

5.     This guarantee shall be governed by and construed in accordance with English law.
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lN WITNESS WHEREOF, PARENT has executed this 1st day of October, 2018.




Signed:                                    Witness by:

Name:                                      Name:            M.,        6lunr&8€/< \4
Title:                                     Title;        Sur,PLv       tttnnl      rwna*66K
                                                         (Duly Authorized Officer of Parent)
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  IN THE MATTER OF THE ARBITRATION ACT 1996
  AND
  IN THE MATTER OF AN ARBITRATION


  BETWEEN:-




                            POSH SAUDI CO. LTD.
                            of Dammam, Saudi Arabia
                                                                      Claimants
                                                                        (Owners)
                                       and


                DYNAMIC INDUSTRIES SAUDI ARABIA LTD.
                        of Al Khobar, Saudi Arabia
                                                                    Respondents
                                                                    (Charterers)
                              *POSH ENDEAVOUR''


                         Charterparty dated 1"t October 2018



                        FINAL ABBITRATI ON AWARD




  WHEREAS:


  1.    By a timecharterparty on an amended SUPPLITIME 2005 form dated Saudi
        Arabia, l.t October 2018 ('the charterparty"), the Claimants ("the Owners")
        chartered the Offshore Supply Vessel "Posh Endeavour" ('the vessel") to the
        Respondents ('the Charterers") for a period of "200 DAYS FIRM', with the
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                                                       )




       Charterers having the option to extend the duration ofthe charterparty for "2
       x 7 DAIS, 14 x I DAY" onterms and conditions more particularly set out in the
       charterparty. Pursuant to four subsequent Addenda (numbered I, 2, 3 and 4),
       the duration of the charterparty was extended to 18th January 2A24.


  2.   Clause 34 of the charterparty incorporated the BIMCO Dispute Resolution
       Clause and provided, where relevant, as follows:


            "(a) Thi,s Charter Party sh,all be gouerned by and constru,ed in accordance with English
            law  a,n d, any d,ispute o,rising out of in connection with th'is Cha,rter Pa,rty shall be referred
            to arbitration in London in accordance witlt, the Arbitrs,tion Act 1996 or any statutory
            mod,ifieation ar re-ena,ctment thereof saue to th,e extent necessaty to giue effect to the
             prauision of this Clause. The arbitration sltall be cond,ucted, iru a,ccord'ance with the
            Lond,on Maritime Arbitrators Association, (LMAA) Terms current at the tim,e wh,en the
            arbitration proceedings are comm,enced.

            TTte reference stt atl be to tlr,ree arbitrators. Aparty wishing to refer a d,ispute to arbitration
            sh,al,l appoint its a,rbi,trator and send notice of such appointment in writing to the other
           par7y reqairing the oth.er party to appoint its own arbitrator with'in 14 calend's,r d'ays of
           that notice and. stating that it wiII appoint its arbitrator as sole arbitrator unless the oth'er
           party appoints its own q,rbitrator and giues notice th,at it has done so within tln 14 d'ays
           specified,. If the other party does not appoint its own arbitrator and giue notice tha't it h.as
           d.one so w;ttli7t, the 14 days specified, Lhe party rcferring a. d,ispute to arbitratiotL ma!'
           without the requirement of any further prior notiee to the oth,er party, appoint its
           arbitrator o,s the sole aybitrq,tor and, shall aduise the other party accotdin gly. Th,e award,
           of tlte sole a,rbitrator shutl be bind,ing on both, parties as if he had been appointed by
            agreerLetut.

            Notk,i,ng herein sha,ll preuent the pa.rties agreeing    in writing to uary th'ese prouisions     to
           prouide for the appointment of sole arbitra,tor.

            In cases wh,ere neither the claim nor any counterclairn exceed,s the sunt' of US$50,000 (or
            such. oth,er sufiL ds the parties mcty agree) the a,rbitration sh,al,I be cond'ucted' in accord,ance
            with the LMAA Small Claims Proced,ure curtent at the time when th'e arbitration
           proceed,ings are contfiLenced' .,."


  3.   Disputes, hereinafter more particularly defined, arose between the parties for
       the determination of which the Owners appointed me, Edward Mocatta of Suite
       6, 6tt' Floor, Central House, 1 Ballards Lane, London, N3 lLQ and the
       Charterers appointed me, Patrick O'Donovan of Basement Suite, 131 High
       Street, Teddington, Middlesex, TWll 8HH. In due course, we the party-
       appointed arbitrators appointed the undersigned, Michael Baker-Harber of 87
       High Street, Burnham.on-Crouch, Essex, CMO 8AH to be the Third Arbitrator'
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       We are all Members of the Baltic Exchange in the City of London and Full
       Members of the London Maritime Arbitrators Association ("the LMAA").


  4.   The seat of the arbitration is London, England.


  5    The dispute referred to us was the Owners' claim for US$3,998,167.80 rn
       respect of what they said was the total outstanding principal sum due under
       the charterparty. They also claimed interest at the contractual rate of.2% pet
       month after the due date of each of the outstanding principal invoices.
       Alternatively, the Owners said they were entitled to interest to be assessed
       pursuant to section 49 of the Arbitration Act 1996. They also claimed their
       costs.



  6.   The Charterers denied liability for the sum(s) claimed or any sum and asked
       us to make an Award in their favour:


       (a)      declaring that the Charterers are entitled to rely on the force majeure
             provisions   in Clause 32 of the charterparty as a defence to the Owners'
             claims; charterparty;


       &)       dismissing the Owners'claims in full; and


       (c)   ordering the Owners to pay        all of the   Charterers' costs incurred in
             connection    with this arbitration, including fees and expenses of the
             Tribunal, legal fees and expenses, witnesses' expenses, and interest on all
             costs awarded.


  I    The reference proceeded by the exchange of written submissions between Clyde
       & co. clasis singapore Pte. Ltd. in singapore ("clyde & co,") and Dentons uK
       and Middle East LLP in London ("Dentons"). Clyde & Co. served Claim
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        Submissions on 27th May 2020; Dentons served Defence Submissions on        3"d

        July 2020; and Clyde & Co. served Reply Submissions by email on 16th July
        2020. In that same email Clyde & Co. applied to us for the immediate
        determination of the Owners' claim on the basis of the submissions served to
        date and for          (i) a Final Award in   respect   of the principal sum of
        US$3,998,16?.80 and costs and (ii) a Final Award in respect of interest at the
        contractual rate of Z%per month. By email on 6th August 2020, Dentons served
        the Charterers' response to the application. By email on llih August 2020,
        Clyde & Co. served the Owners' reply to the Charterers' response to the
        Owners' application.


  8.    Our Reasons for this Award afe annexed hereto and form part hereof.




  NOW WE the said Arbitrators, Edward Mocatta, Patrick O'Donovan and Michael
  Baker-Harber having accepted the burden of this reference and having carefully and
  conscientiously considered the submissions and evidence (all documentary) piaced
  before us and having given due weight thereto and finding ourselves in agreement,
  DO HEREBY MAKE. ISSUE AND PUBLISH thiS                  OUT   FINAL ARBITRATION
  AWARD as follows:


  (A)   WE FIND AND HOLD that the Owners'claim in the sum of US$3,998,167.80
        succeeds   in full.


  (B) WE THEREFORE AWARD AND ADJUDGE that the Charterers shall
        forthwith pay to the Owners the said sum of US$3,998,167.80 (Three Million
        Nine Hundred and Ninety Eight Thousand, One Hundred and Sixty-Seven
        United States Dollars and eighty cents) PLUS interest at the contractual rate
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                                                  5




        of   2o/a   per month from the due date of each of the invoices set out in paragraph
        4 of our Reasons       until the date of payment.


  (C)   WE FURTHER AWARD AND ADJUDGE:


        (i)     that the Charterers shall bear their own costs and pay the Owners' costs
                of the reference (and the Owners' said costs may, if not agreed, be
                determined by us or in the High Court in London in the Owners'option
                on the basis set out in s.63(5) of the Arbitration Act), for which purpose
                WE HEREBY RESERVE JURISDICTION to make a                         subsequent

                Award of Costs;


        (ii)    that the Charterers shall further bear and pay the costs of this our Final
                Arbitration Award (inclusive of our fees and interlocutory charges in
                relation hereto) in the sum of J16,800, PROVIDED ALWAYS that if, in
                the first instance, the Owners shall have paid any amount in respect of
                the costs of this our Award they shall be entitled to            immediate
                reimbursement by the Charterers of any sum or sums so paid; AND


        (iiil   that the Charterers shall pay interest on any sums payable to the Owners
                under sub-paragraphs C(i) and (ii) above at the tate of.4.5o/o (four and one-
                half per cent) per annum or pro rata compounded at three-monthly rests
                from the date of this our Final Arbitration Award until the date of
                payment or reimbursement as appropriate.


  (D)   WE DECLARE that this Award is FINAL as to the matters hereby determined.
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GIVEN under our hands at the seat of the arbitration in London, England
this L^J dayof 1|ep/9r1 /N zozo
                       I



Edward Mocatta




Patrick O'Donovan




Michael Baker-Harber
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                              *POSH ENDEAVOUR'


                        Charterpartv dated lut October 2018


                   REASONS FOR AND FORMING PART OF
                         FINAL ARBITRATI ON AWARD




      The disnute before us

 1    The "Posh Endeavour" is an Offshore Service Vessel. In this arbitration, the
      Owners claimed US$3,998,167.80, being what they said was the total
      outstanding principal sum due under the charterparty. They also claimed
      interest at the contractual rate of 2o/o per month after the due date of each of
      the outstanding principal invoices. Alternatively, the Owners said that they
      are entitled to interest to be assessed pursuant to s.49 of the Arbitration Act
      1996 on   all sums awarded to them.

 2.   The Charterers did not dispute that, in the normal course of events, hire
      would be payable as specified by the Owners but they raised three
      substantive defences to the Owners'claim:

      I     The commencement of arbitration proceedings was premature

      II    The commencement of arbitration proceedings          is contrary to UK
            Government guidance.

      III   Force majeure.
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                                                       -2-

      The relevant contractual nrovisions.

 3.   The charterparty provided, inter alia, as follows:

           "Box 20: "Charter hire (state rate and currency) (Cl'12(a), (d) and (e))

           USD 23,750 PER DAY OR PRO.RATA EXCLUDING FUEL, FRESH WATER,
           PORT DUES AGENCY AND PILOT FEE, CLENANCE IN/OUT,
           COMMUNICATION, WEATHEH REPORTS WORK PERMIT< VAT                                       &   anv
           additionat mod,ifica,tions / requirernents by Ch'a,rterers / End' User .."'

           Box 2l:"Extension, hi,re (if agreed, state rate) (C1.12(b)) to be nt'utually agreed

           SAME AS BOX 20'

           Bax 24:"Pa,yment of hire, bunher inuoices and disbutsements for charterers' account
           (state maximum. number ol da.ys) (Cl. 12(e))

           30   DAYS'

           Box2l:"Interest rate payable (Cl. 12(e))
           q0Ltt


           Box 27: "Meals (sto,te rate agreed) (C1.6(c))(i))

           Resid,ent rate: US$ 75   /   man   / d'ay
           Casual mea.I   /   Guest meal rate: US$15         /   rneal"

           Box 28: "Accomnzod,a'tion (state rate agreed) (C1.6(c))(0)

           Included in Resident ro.te (Box 27)

           Guestrate: US$15 /bunh        /   man   /   night"

           Clause 12 "Hire and. Payments"

           "(a) Hire. - The Charterers shall pay the Hire for the Vessel at the rate stated in Box
           20 per d.ay or pro ra,ta for pa,yment thereof fron the tim,e th,at the vessel is d,eliuered
           to the Chartere.rs until the expiration or eatli,er termina.tion of this Charter Part2.



           (e) Payments.     - Pa.yments of Hire, bunher inuoices, and. disbursem.ents for the
           ihartererc' acco&nt sha,ll be receiued within the nurnber of d,ays sto'ted' in Box 24 from
           the d,ate of receipt of the inuoice. Paynzent sha,ll be rnade in the currency sta'ted in Box
           20 in fult without d,iscount to th,e account stated in Box 23. Howeuer, any aduo,nced,
           for d,isbursements mad,e on beh,atf of a.nd apprctued by th,e Owners may be d'ed,ucted
           fronz Hire d.ue.



           If payment is not  receiued, by the owners within 5 banhing d,ays followi,ng th,e dwe
           d,ate the Owners are entitled to charge interes[ at tlrc rate stated' in Box 25 on the
           arnount outstand,ing from, and, ineluding the due date until pa'yment is receiued'"
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          Clause 32 "Force Majeure"

          "Neither party shall   be   liable for any loss, damage or delay   d,ue   to any of the following
          force m.ajeure euents a.nd/or con,ditions to the extent the party inuolzing force majeu,re
          is preuented, or h,ind,ered, from performing any or all of their obligatinns und,er this
          Cho,rter Party, prouid.ed th"at they ltaue ntade all rcasonable efforts to auoid,, minimize
          or preuent the effect of such. euents arud,/or cond,itions:




          (b) a.ny Gouernrnent requisition, control, interuentioru, requirement or interference;




          (e) epidemies;




          (i) any otlter sintilar ce,use beyorld, the reasonable control of either party.

          The party seeki,ng to inuohe force majeure shall notify the oth.er party in writing with'in
          2 worleing d.ays of the occutrellce of any such euent / condition."


     The Owners'claim

 4   The Owners said that, at the date of service of their claim submissions, the
     following invoices for the principal sutns owed under the charterparty are
     outstanding and had not been paid by the Charterers:


           Invoice             Invoice             Due Date          Amount (US$)
           Number              Date

           11"0000591          19109/2019          19110120t9        273,593.25


           110000634           10110/2019          09lru20L9         3.15


           110000672           our1l20r9           o1"lL2l20t9       773,062.50



           110000673           oLl7Ll20L9          outzl20t9         6,847.89


           110000690           ULlL2l20rg          \Ll12l20tg        748,125.OO
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                                              4-


              110000691          0uL2l20L9    3u1212019     6,683.99


             110000756          \LlL2l20L9    301o112020    255,734.25


             110000757          3u1212019     30101"/202a   234,029.25


             110000755          311L212019    30lar/202a    279,972.40


             110000758          3u12l2AL9     30lou202a     773,062.50


             110000759          3LlLzl20L9    3010u2020     7,960.51



             110000797          o].loll2020   3U0u2020      336,031.70



             110000833          o11o212020    o2lo3l202a    3,973.96


             110000867          301a312020    291O412020    202,7t8.25


             1r.0000868         3010312020    2910412020    92,027.25


             11"0000869         3ilO312020    30/o412020    4,942.35


                    Total:                                   3.998.167.80


 5   The Owners said that they had repeatedly chased the Charterers to make
     payment of the outstanding sums due under the charterparty, including in
     their letter dated 31"t March 2020 (sent from Mr David Tan on behalf of the
     Owners to Mr Donald Sinitiere of the Charterers), which demanded that the
     Charterers make payment of outstanding sums due under the charterparty
     within   7 calendar days.


 6   The Owners referred us specifically to two emails. In an email response dated
     6th   April   2O2O   Mr. Donald Sinitiere of the Charterers stated "Things here in
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        KSA haue been uery difficult with the lochdowns, utorleing frorn home and
        curfew.   I   haue to be in Abu   Ali today but will try to contact you on Tu'esday   to

        discuss our     situation."The Owners said that the Charterers did not, and have
        not, disputed that the sums claimed by the Owners are outstanding under
        the charterparty.

  nI    Mr. David Tan, of behatf of Owners, responded by email on 8 Aprii            202A by

        stating "Could you let me knout what you wish to discuss? We haue not been
        paid, and a significant portion of the debt pre-dates the lockdowns in any case.
        And banhing transactions can be done uia internet or remotely out of the office
        so the lochdowns aren't really tlte issue."


        The Charterers' defence

 8.     The Charterers did not deny that the hire had fallen due and would be
        payable in the normal course of events. However, they said that the impact
        of the COVID-19 pandemic has had significant ramifications for their
        business, resulting in serious and ongoing cash flow difficulties. They had
        sought to engage with the Owners in relation to these issues; however, the
        Owners lnad "prematurely rushed to commence arbitratian proceedings".

 L      The Charterers said that the context in which these arbitration proceedings
        had been commenced not only provided a substantive defence to the Owners'
        claims for reasons of force m.ajeure, but also raises questions over the Owners'
        conduct which (the Charterers said) should be reflected in both the Tribunal's
        determination of the merits and the allocation of costs. We deal in turn with
        each limb of the Charterers' defence:

        I    The commencement of arbitration proceedings is premature

  10.   The Charterers said that they had cooperated in good faith during the course
        of the charterparty. Prior to 14th January 202A, they had paid all of the
        invoices issuedby the Owners, totalling US$9,720,227.39, within the
        relevant time period. However, subsequently they began to experience
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        significant cash flow difficulties, such that they were unable to continue
        paying the Owners' invoices.

  11. The Charterers said that the Owners had raised no concerns in writing
        around outstanding invoices until2"d February 2020.

  12. There was a meeting on 1lth March 2O2O, during which Mr Sinitiere of the
      Owners met the local Charterers' representatives, Joseph Assaf and Ian
        Chen Zhenwei in Saudi Arabia. Mr Sinitiere described the Charterers' cash
        flow issues and both parties 'committed to work together and continue
        communicating until the payments could be made.

  13.   A further email was sent by the Charterers to the Owners on 26th March 2020,
        seeking an update. This email, reflecting (said the Charterers) the by then
        global concerns caused by COVID-l9, began with the words:

             "Ifope you're well amid,st o,Il the COVID issues"


  14. On 28th March 2020, Mr Sinitiere                of   the Charterers responded to the Owners
        as follows:

         "I apologize for th,e late reply. Unfortunately DISAis experiencing a cash flow ch,allenge and'
         are trying to close the gap but it has beeru d,fficult getting good information from our client
         with so many people worhing from hom,e".

  15. Thus, said the Charterers, they had replied constructively and honestly,
        conveying the difficulties resulting from the prevaiiing circumstances.

  16. Mr Sinitiere made further reference to the impact of COVID-l9 on 6 April
        2020, stating:

             "Th,ings lr,ere in KSA haue been uery      dfficult with th.e lochdowns, worhing from lwme
             and, curfew.   I   h,aue   to be in Abu Ali today but will try to conta'ct you on Til'esda'y to
             discus s our situcttion"    .


  L7. Mr Sinitiere sent a further email on 17 April                  2020 stating:

             "(Infortunately,we o,re still worhing th,rough our issues. As soon as       I   haue a firm' date
             wh,en DISA ca,n mahe a payrnent I will aduise you".
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 18. It is therefore clear, submitted the Charterers, that they were engaging with
       the Owners regarding the unpaid invoices and doing what they could to
       reassure them. Yet as early as 4tt' May 2020, the Owners had commenced
       arbitration proceedings by issuing a Notice of Arbitration and appointing an
       arbitrator.

 19. The Charterers submitted that "this rush to comrnence proceed'ings"                               was
       premature and contrary to the spirit of cooperation and engagement that had
       prevailed prior to that point.

       il   The commencement of arbitration proceedings is contrary to
            UK Government guidance

 20. The Charterers said that, on 7tt' May 2020, the UK Government                           had issued
       guidance on responsible contractual behaviour                     in the perforrnance           and
       enforcement of contracts impacted by the COVID-l9 emergency ("the UK
       COVID-l9 Guidance" or "the Guidance"). They said that this is relevant to
       the performance of the charterparty in circumstances where it is governed by
       English law and the seat of the arbitration is London. The Guidance applies
       where the performance of contracts has been materially impacted by the
       COVID-19 pandemic, which the charterparty had been.

       The Charterers referred us to the following extracts from the Guidance
       Paragraph l- states that:

            "Th,e guid,ance iru this note is that parties to contracts sh,ould' act responsibly and' fairly,
            support the response to Couid-19 and' protect jobs and the economy".

 21.   Paragraph 12 states that:

            "It is recognised that parties to some contracts may find it difficult or impossible to
            perform tltose contrq.cts in accordance with their agreed terms as a result of the impact
            of Couid-I9 - including through. illness in the worlzforce, the effects of restrictions on
            rlouem,etut of people and goods, reuised, ways of worhing necessary to protect health and
            safety, tlr,e elosure of businesses or the red,uction in o, party's financial resources
            available to make payrnents otherwise due under th,e contractual arrangenl'ents"
            (entplmsis added)
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  22.   Paragraph 14 states

            "Responsible and fair behauiour is strongly encouraged in performing and enforcing
            contracts where there has been a ma.terial irnpact from Couid'-19. This includ'es being
            reasonable and, proportionate in responding to performance issues and enforcing
            contrqcts (inctud,ing dealing with any d,ispwtes), acting in a spirit of cooperation and'
            aiming to ach.ieve practical, just and, equitable contractual outcomes hauing regard, to
            tlte impact on the otlter po,rty (or parties), tlte auailability of financial resources, the
            protection of public heq,lth and the national interest" (emphasis added).

  23.   Paragraph 15 states (in relevant part)

            "In particular, responsible and fa.ir beh,auiour is strongly encouraged in relation to the
            following:

                requesting, and. giving, relief for impaired, perforrnance, including in respect of th,e
             (a.)
             time for d,eliuery a,nd, completion, the nq,twre a,nd scope of goods, worhs and seruices, the
             malzing of po,yments and the operation of payment and, performance mech.anisms;

             (b) requesting, a,nd allowing, extensions of tinte, substitute or a,lternatiue performance
             and, contpensation, includ,ing com.pensation         for   increased' cost     or   ad'ditional
            performance;

             (c) mahing, and responding to, force majeure, frastratinn, change       in   la,w, relief euent,
             delay euent, cornpensa,tion euent and' excusing ca'ase claims;

             (d) requesting, and ma,hing, payment under the contract;



             (h) ctaiming breach of contract and enforcirug euents of d,efault and terrnination
              prouisions (inctuding termination rights arising by reason of th,e insoluency or potential
             insoluency of a party);



             (n)    commencing, and continuing, formal dispute resolution proced,ures, includ,ing
            proceedings in court" (emphasis added).

  24.   Paragraphs 16 and 17 state:

             "76. The responsible and fair belta.uiour describedin paragraplts 14 and 15 should'
             continue to apply in circumstances wltere tlte releuantt contract is materially impacted'
             by couid-l9, so tha.t fair and. equitable outcomeE can be achieued, in contractual
             arrangem,ents and the objectiues described in patagraph 13 can be m'et'

             17. It is recognised in particular tltat d,isputes, especially a "pleth,ota of disputes", can
             be d,estrwctiue to good contractual outcornes and the effectiue operation of marhets.
             Further to p0regrdph6 15(rn) and 15(n), the Government would, strongly encoura,ge
            parties to seeh to resolue any emerging contractual isswes responsibly - th'rouglt
            negotiation, mediation or otlt er alternatiue or fast-trach d'ispute resolution - before these
            escalate into formal intractable d'isputes" (emphasis added)].
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  25.   The Charterers submitted that these proceedings are precisely the sort of
        disputes that the      UK Government was seeking responsible         contractual
        parties to avoid. There could (they said) be no doubt that the Charterers
        would have paid the invoices had they been able to, as their past contractual
        performance makes clear. Further, there could similarly be no doubt that
        the Charterers intended to pay the invoices in future when they are able to
        do so, after the   current difficulties have been resolved. The responsible and
        fair approach in the meantime would have been for the Owners to have
        engaged further with the Charterers in order to agree a revised timetable for
        payment, rather than rush to arbitration.

  26. At the very least, submitted the Charterers,       the premature commencement
        of    arbitration proceedings contrary to the Guidance should be reflected in the
        allocation of costs by the Tribunal.

        ilI     Force Majeure

 27.    The Charterers repeated that their business had been significantiy affected
        by the COVID-19 pandemic, and this had prevented and/or hindered the
        performance of their obligations under the charterparty. As a result, the
        Charterers relied on the force majeure provisions in Clause 32 of the
        charterparty. They noted that the Guidance expressly includes at paragraph
        15(c) responding to force majeure claims as a circumstance      in which parties
        are strongly encouraged to behave fairly and responsibly.

  28. First, the COVID-l9         pandemic had significantly delayed the resolution of
        numerous change orders and related claims in relation to the two projects
        between      the Charterers and Saudi Arabian Oil Company            ("Aramco");
        including the project for which the Charterers had engaged the Owners. This
        was directly connected to the charterparty because Aramco are the
        Charterers' contract counterparty under onward supply arrangements for
        the purposes of which the Charterers entered into the charterparty with the
        Owners.
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  29.   The Charterers said that they are entirely dependent on Aramco to generate
        revenue. They currently only have two projects, both for Aramco. They have
        no other customers or sources of revenue. There are numerous change orders
        pending that span both projects, the resolution of which, the Charterers said,
        has delayed and/or hindered their ability to pay the Owners'

 30.    The Charterers said that once Saudi Arabia implemented the first limited
        curfew and restrictions on travel, shutdown of governmental agencies and
        private industry staff limitations, normal activities within Aramco and the
        ability of contractors to engage directly with Aramco slowed down and in
        some cases stopped except for essential Aramco operations. Getting Aramco
        employees to respond to even the most routine inquiries became problematic.
        Efforts by the Charterers to engage with Aramco seeking Aramco decisions
        on and resolutions of the referenced disputes and other outstanding issues
        slowed considerably and in some cases came to a complete standstill. Many
        remain at a complete standstill at present.

 31. As such, said the Charterers, these change order disputes, which could
     reasonably have been expected to have been resolved by now, temain
        unresolved. Due to (a) the dependence of the Charterers as a relatively small
        company on the revenues generated by these projects with Aramco; and (b)
        the ongoing delay in resolving the change orders with Aramco and/or
        receiving resulting change order payment from Aramco, very significant cash
        flow difficulties have arisen within the Charterers. This means that the
        Charterers cannot presently pay the Owners' invoices, as well as those of
        other vendors. This continues and is not expected to end for several months.

  32.   Second, said the Charterers, their ongoing project work has been impacted
        by their not being able to achieve planned and anticipated progress due to
        the severe disruption caused by the COVID-l9 pandemic. As a result,
        progress bilting and projected monthly invoicing has been substantially
        impacted and revenue to the company has been significantly reduced. As
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       such, this has directly affected the Charterers' ability to generate revenue
       and impacted their cash flow.

 33. Third, the COVID-19 pandemic has significantly                       impacted the day-to-day
       operations of the Charterers' business. The Charterers have a small team,
       many of whom have been repatriated to their home countries, in a number of
       cases causing them to be quarantined and unable                   to re-enter Saudi Arabia.
       For those remaining in Saudi Arabia, they have been greatly affected by the
       lockdown measures taken by the Government, including nationwide curfews
       and widespread restrictions on movement and business activities. This has
       affected both the Charterers' ability to perform contractual obligations but
       also to resolve existing disputes. Again, this is ongoing'

 34.   For convenience, we repeat the relevant part of Clause 32

            "Neither party shaU be tiable for any loss, d.amage or d,elay d,ue to any of the foLlowing
            force majeure eueruts and/or conditions to the extent the party inuoking force majeure
             is preuented, or hind,ered, from perforrning any or a,ll of their obligations under th,is
             Charter Party, prouid,ed thqt they haue m,ad,e all reasonable efforts to auoid,, minimize
             or preuen,t the effect of such euents and'/or cond'itions:




             (b) o,ny Gouernment requisition,, control, interuention, requirentent or interference;




             (e) epid,enr,ics;




             (i) any oth,er sim.ilar cause beyond the rea,sonable control of eith'er party.

             The party seehing to inuoke force majewre shall notify the alh,er party in, writing with,in
             2 worhing days of th,e ocewtetuce of an'y such euent/condition."

 35.   The Charterers submitted that there can be no doubt that Clause 32 is broad
       enough     to cover the COVID-l9 pandemic. The express reference                               to
       ,,epid.emics,'   in clause   32(e), coupled with the sweep-up wording                  in clause
       32(i) makes this cleat, a pandemic being a"similar cau,se" to an epidemic and
       also beyond either party's control.
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 36.   Further or alternatively, submitted the Charterers, the Government's action
       in   Saudi Ayabia        in   response   to the COVID-l9        pandemic, constitutes
       "Gauernrnent requisition, control, interuention, requirement or interference",
       as provided       in Clause 3200), or, alternatively, a "similar cause       beyond the

       reasonable control" of the Charterers under the sweep-up }anguage of Clause
       32(0.

 37. As a result of these events af force         ntajeure, the Charterers said that they
       have plainly been         at least "hindered", and arguably          "preuented,", from
       performing their obligations under the charterparty. Whilst they have made
       all reasonable efforts to avoid, minimise or prevent the effects of these events,
       they quite simply have insufficient cash reserves to pay the sums due and
       there is nothing that they can reasonably do to resolve this until revenue
       starts flowing again.

 38. The Charterers said that they had made this clear to the                       Owners in
       correspondence. By way of summary:

       (a)     The parties held discussions      in Saudi Arabia on 11th March        2A2A,   in
               which Mr Sinitiere described the Charterers' cash flow issues.

       (b)     The Owners themselves recognised the problems, noting "a'Il the COWD
               issues"   in their email to the Charterers   of.26th   March 2020.

       (c)     Mr Sinitiere confirmed on 28th March 2A2A t}'at "fthe Charterers arel
               experiencing a, cash flow challenge and' are trying to close the gap but it
               has been difficult getting good informa,tion from our client with so many
               people worhing from home".

       (d)     On 6th April 2020, he reiterated that "Things here in KSA haue been uery
               dfficult with the lochdowns, worhing from       ltom'e and curfew".


       (e)     Finally, on l?th April 2020, he noted t}rat "Unfortunately we are still
               worhing through our issu,es".
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 39.    Given the timing of these emails, said the Charterers,    it   cannot be disputed
        that they arose during the COVID-l9 emergency, when they,         as   with   so   many
        other businesses, were impacted by the growing pandemic.

  40. In the circumstances, whilst no formal       force majeure notice for the purposes
        ofClause 32 ofthe charterparty had been issued by the Charterers, by these
        communications and exchanges they have given notice of the events relied
        upon under Clause 32.

  4L. Further or alternatively, the drafting of the notice provisions in Clause 32
      makes clear that the parties did not intend the giving of notice to be a
        condition precedent to reliance on the substantive force majeure provisions.

  42.   As such, they submitted that they are relieved of liability for their obligations
        under the charterparty whilst these events of force majeure are ongoing,
        including the obligation to pay the invoices claimed by the Owners.

  43.   The Charterers requested the Tribunal to render an award

        (a)   declaring that the Charterers are entitled to rely on the force maieure
              provisions   in Clause   32 of the as a defence to the Owners' claims;
              charterparty;

        (b)   dismissing the Owners' claims in full; and

        (c)   ordering the Owners to pay al} of the Charterers' costs incurred in
              connection   with this arbitration, including fees and expenses of the
              Tribunal, legal fees and expenses, witnesses'expenses, and interest on
              all costs awarded.

        The Owners' Replv Submissions

  44.   The Owners submitted that none of the Charterers'defences have any merit.
        In the Owners' submission, it is plain that the above defences have been
        raised with the objective of stifling and frustrating the Owners'
        straightforward claim for payment of hire and disbursements'
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  45. In this regard, said the Owners, it is telling that Charterers have not
      challenged either the validity or quantum of Owners' invoices, thereby
       accepting that the invoices represent legitimate claims by Owners for hire
       and disbursements. As a result, the only issues requiring determination are
       the three defences raised by the Charterers.

       I    The Charterers' submission that the commencement of
            arbitration proceedings is premature

 46.   The Owners said that the Charterers'submissions have no merit as a matter
       of law.

 47. The starting point is to consider the wording of the arbitration clause
       between the parties, the BIMCO Dispute Resolution Clause at clause 34 of
       the Charterparty (as quoted in our Award).

 48. There are no preconditions to the valid commencement of arbitration
     proceedings set out in clause 34; it simply provides that "a party wishing to
       refer a d.ispute to arbitration shall appoint its arbitrator and send, notice of
       such appointment in writing to the otlter party requiring the other party to
       appoint its own arbitrator within 14 calendar days of that notice". The
       Owners served a notice of arbitration on 4th May 202O after a dispute had
       arisen between the Owners and the Charterers regarding payment of the
       Owners' invoices, with the Charterers in breach of the clause 12(e) obligation
       to make payment of invoices within 30 days of receipt of the relevant invoice.
       There was plainly a"dispute" between the parties regarding the outstanding
       invoices at the time arbitration proceedings were commenced (and the fact
       that the Charterers had asserted in their Defence Submissions that they
       were not liable to pay the outstanding invoices was further confirmation of
       this). The Owners said that they were therefore entitled to commence
       arbitration proceedings as a means of seeking a resolution to the dispute,
       through seeking relief from an Arbitration Tribunal.
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 49. In any event, said the Owners, there were numerous       exchanges between the
       parties in which the Owners sought a resolution to the dispute prior to the
       commencement of arbitration proceedings. As such, in any event, the Owners
       had. sought to resolve   the dispute between the parties on a commercial level
       without recourse to arbitration proceedings.

 50.   However, in response to the Owners' chasers for payment of the Owners'
       outstanding invoices, the Charterers simply sent vague and non-committal
       responses, and failed to confirm when payment would be made. This was
       notwithstanding the fact that the Charterers were in breach of the terms of
       the charterparty, and considerable sums were owed by Charterers to the
       Owners. The Owners rejected the Charterers' assertion that they "replied'
       constructiuely and honestly" to the Owners' requests for payment; the
       Charterers' responses did not explain when payment would be made and
       simply represented an attempt to stall on making payment.

 51. Further or alternatively,   the Owners submitted that they were entitled to
       commence and progress arbitration proceedings against the Charterers in
       order to obtain Arbitlation Award(s) against the Charterers, in order that
       they could use the Award(s) to claim under the Parent Company Guarantee
       issued. by the Charterers' parent company, Dynamic Industries Inc. If the
       Charterers face cash flow difficulties, then the Owners are entitled to obtain
       Arbitration Award(s) so they can seek to obtain payment from the Charterers'
       parent company in respect of sums owed by the Charterers.

  52. As such, the Owners were not only entitled pursuant to clause 34 to
       commence arbitration proceedings against the Charterers to pursue their
       claim, but were also justified in doing so.

       u    The charterers' submission that the commencement of
            arbitration proceedings is contrary to the UK Guidance on
            responsible contractual behaviour in the performance and
            enforcement of contracts impacted by COVID-19
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 53.   The Owners'position was that the UK Covid-l9 Guidance

       (a)   is not applicable to the contractual relationship between the Owners
             and the Charterers (neither party being a UK party);

       (b)   is guidance only, and does not affect the Owners'rights and remedies
             available under the charterparty or at law;

       (c)   in any event, even if the UK Covid-19 Guidance is applicable, it has not
             been breached by Owners.

 54. The starting point, submitted the Owners, is that, as set out in the section
       with the sub-heading"purpose of this note", the UK Covid-l9 Guidance refers
       to the "national response" to the public health emergency of Covid-l-9, and
       refers to "our econonly". As such, the UK Covid-19 guidance is directed to UK
       companies and the UK economy, not an international contract between the
       Owners and the Charterers, neither of which are UK entities; both being
       Saudi Arabian companies. The only relevant link to the UK of the
       charterparty is that the parties have chosen that their contractual terms are
       governed     by English law and disputes are to be resolved by LMAA
       Arbitration in London. The UK Covid-l9 Guidance is therefore not applicable
       to the Owners and/or the Charterers.

 55. In any event, argued the Owners, even if the UK Covid-l9 Guidance rs
       applicable, paragraph 6 of the UK Covid-L9 Guidance expressly states "it is
       non-sto,tutory guidance", and paragraph                 7 of the UK Covid-l9           Guidance
       states:

             "Whilst this guidance h,as general applica.tion. ta all actiue contraetuq.l a.rrangements
             materially impacted by Couid" 19, it is guida,nce only o.nd is not intend,ed' to overrid,e:

             (b)   any specific support or relief auailable.

                   (t) in th,e releoant colLtra.ct (for em'mple     relief giuen in express proulslons   Ln
                          the contract),

                   (iil   in law, custom   or pra,ctice (includ'ing o'ny equitable relief),
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             This Euidance d,oes not apply to corltrd,cts or transq,ctions which' are speculatiue in
             nature in respect of rishs similar to the Couid.-I9 emergency or to fina'ncial ma,rhet
             tra,nsactions,"

  56.   As such, submitted the Owners, the UK Covid-19 Guidance is not stated to
        affect their rights under the charterparty to a) commence arbitration
        proceedings and b) obtain Award(s) for outstanding sums owed by the
        Charterers.

  57. In any event, even if the UK Covid-l9            Guidance is applicable, the Owners
        denied that they were in breach of the Guidance. Despite sending numerous
        chasing messages for payment, the Charterers had not confirmed (or even
        indicated) the timeframe in which they intended to make payment, or set out
        a proposed payment schedule for the outstanding debt.    In refusing to make
        payment of the outstanding invoices (despite the fact that they are
        contractually obliged to do so), and by failing to give any indication of the
        timeframe when payment will be made, the Charterers are effectively
        seeking an indefinite extension in the period for making payment of
        outstanding invoices, during which the Owners cannot take any steps to
        obtain payment.

  58.   Moreover, the UK Covid-19 Guidance applies to both parties; for example,
        paragraph 15(d) refers to "requesting, and maleing. payment under the
        contract". The Charterers, in failing to make payment of the Owners'invoices
        due under the charterparty, are causing cash flow difficulties to the Owners,
        who are owed the principal sum of US$3,998,167.80. The Owners have their
        own payment obligations to other parties, and the Charterers'ongoing failure
        to make payment affects the Owners' ability to satisfy those payment
        obligations.

  59.   Even if the Charterers face financial difficulties and cash flow difficulties rn
        making payment of the outstanding invoices, then the Owners should be
        entitled to obtain Award(s) in order so that they can make a claim against
        the Charterers'parent company under the Parent Company Guarantee.
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        ilI The Charterers' submission that they are entitled to rely on
             force majeure under clause 32 of the charterparty

 60. It was the Owners' case that Clause 32 of the charterparty is not applicable,
        and, in any event, cannot excuse the Charterers from their obligation to pay
        Owners' outstanding invoices.

 61.    The wording of clause 32 provides:

              "Neither party shall be liable for any loss, d'amage or d'elay due to any of th'e
             following force ntajeure euents and,/or conditions to the extent the party inuohing
             force majeure is prevented, or hind.ered' from performin'g a'ny or aII of their
             obligations under tltis Charter Party, provided. that they have rnade all reasonqble
             efforts to avoid, minimize or prevent the effect of such euents andlor
             conditians:   ... " (the Owners' emphasis added)


  62.   The starting point is therefore that, in order for a party to rely on clause 32,
        they need to be able to demonstrate that there has been a force majeure event
        falling within clause 32, and that event needs to have "preuen'ted" or
        "hindered" that party from performing their obligations under the
        Charterparty.

 63.    The wording"due lo" in the first sentence indicates that the failure to perform
        must be "dLte to" the force majeure event in question. In other words, there is
        a need to establish a causal link between the force majeure event and the
        inability to perform, following the Court of Appeal decision in Classic
        Maritime Inc -v- (1") Limbungan Makmur sDN BHD & (2) Lion Diversified
        Holdings BHD [2019] EWCA Civ 1102. This is also confirmed by the wording
        "to the extent the party inuoh,ing force majeure is preuented or hindered from
        performing"; the words"to the extent" indicate that any relief is only available
        "to the eJctent" a force maieure event caused "Ioss, delay and damage".

  64. However, there is no causai link           between the alleged force rnajeure events
        complained of by the Charterers, and the Charterers' failure to pay the
        Owners' invoices. The vessel was redelivered on 17th January 2020, before
        there had been any global impact of COVID-l9, and before the initial
        lockdowns on Wuhan and other cities in the Hubei Province in China were
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       imposed on 23'd January 2020. As such, the charterparty had been performed
       and concluded before the impact of COVID-19, and the only outstanding
       obligation was       for the Charterers to make payment of the               Owners'
       outstanding invoices. This is not an obligation that is affected by clause 32.

 65.   Invoices 110000591, 110000634, 110000672, 1"10000673, 110000690 and
       110000691 all fell due on or before 31"t December 2019, so there is no basis
       whatsoever on which the Charterers can contend that their failure to pay is
       "du,e to" or "preuented or hindered" by the impact of COVID-19.


 66.   Invoices 110000756, 110000757, 110000755, 110000758, 110000759 were
       issued on 31st December 20L9 and fell due on 30th January 2020, whilst
       invoice L1"0000797 was issued on 1*t January 2020 and fell due on 31't
       January    2O2O.   Again, there is no basis on which the Charterers can contend
       that payment of these invoices was "d,ue    to"   ot "preuented' or hi,nd'ered" by the
       impact of COVID-l9. The first case of COVID-l9 was confirmed in Saudi
       Arabia on 2'd March 2020,long after payment of these invoices had fallen
       due.


 67. Whilst     invoices 110000833, 110000867, 110000868 and 110000869 feII due
       on 2.d March 2020, 29th April 2020, 29th April 2O20 and 30th April 2020
       respectively, they relate to the performance of the charterparty provided by
       the Owners prior to the impact of COVID-L9. In any event, these four invoices
       total US$303,661.81, a small percentage of the Owners' principal claim of
       us$3,998,167.80.

 68.   The Charterers therefore cannot establish that they would have been able to
       pay the invoices "but for" the impact of the COVID-l9. Indeed, it is apparent
       from the content of the Charterers' Defence Submissions that the real reason
       they have failed to make payment to the Owners is that they                     have

       "insufficient ca,sh reserues" because of issues regarding the projects between
       the Charterers and the Saudi Arabian Oil Company. However:

       (a)    "Insufficient cash reserues" is not a force majeure event;
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        (b) Any delay in the "resolution      of numerous clt'ange orders and related
             claims" or failure to receive payment from Aramco cannot excuse the
             Charterers' failure     to pay the Owners' invoices due under          the
             charterparty. They are entirely separate contracts, and the parties did
             not agree that the Charterers' liability to pay the Owners' invoices
             would be contingent on the Charterers receiving payment from third
             parties.

  69.   Further, under clause 32 the Charterers are under an obligation to give the
        Owners notice in writing within 2 working days of the occurrence of any
        applicable force majeure event or condition. The Charterers had conceded
        that they did not give any such notice, failing to meet the condition precedent
        for reliance on clause 32. The Defence Submissions constitute the Charterers
        first reference to an alleged force majeure event. The Charterers' attempt to
        rely on clause 32 is plainly an afterthought and a last minute attempt to
        avoid liability for contractual obligations to make payment in relation to a
        charterparty that had been performed by the Owners and concluded.

  70. In any    event, the wording of clause 32 is narrower than the Charterers
        contend;   it states that "neither party shall be liable for any loss, damage   or
        delay" due to any of the specified force majeure events. The wording of the
        clause could. not (as the Charterers'contend) lead to an outright dismissal of
        the Owners'claims for unpaid invoices; at most, it could only excuse liability
        for "delay" in payment. However, the provisions of clause 32 are not
        applicable in any event, with the Charterers' failure to make payment to
        Owners pre-dating the impact of COVID-l9.

  7I.   Further or alternatively, even if the Charterers have "insufficient cash
        reserues" and are unable to make payment, this should not preclude the
        Owners from obtaining Award(s) from the Tribunal in respect of the
        outstanding sums owed to the Owners, in order that the Owners can seek to
        obtain payment from the Charterers' parent company under the Parent
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          Company Guarantee or seek to enforce payment against the Charterers'
          assets


          The Owners'application for a Final Award

 72.      By email dated 16th July 2020, Clyde & Co. on behalf of the Owners applied
          for the Tribunal's immediate determination of the Owners'claim on the basis
          of the submissions served to date and for (1) a Final Award in respect of the
          principal sum of US$3,998,167.80 and costs and (2) a Final Award in respect
          of interest at the contractual rate of 2% per month.

 73. The Owners submitted that their         claim, and each of the submissions raised
          in the Charterers' Defence Submissions, can be determined by the Tribunal
          now on the basis of the submissions served to date. They said that they have
          a straightforward claim for unpaid hire and disbursements and no challenge
          had been made by the Charterers to the validity or quantum of their invoices.
          As a result, the only issues that require determination by the Tribunal are
          whether the Charterers have any valid defence to the Owners'ciaim.

 7   4.   They stressed the importance that owners of vessels are paid hire and
          disbursements promptly, as receiving income owed is key to the functioning
          ofinternational trade, it being required for, amongst other aspects, payment
          of operational expenses. In their submission, the defences raised by the
          Charterers were nothing more than an attempt to stifle and frustrate the
          determination of a legitimate claim by the Owners for hire and
          disbursements. By way of analogy to the case     of.   The "Kostas Melas" [1981]   1

          Lloyd's Rep. 18, the Owners submitted that they were entitled to a prompt
          determination of their claim for hire and disbursements, akin to applications
          for interim awards for hire on Kostas Melas principles.

 75. The Owners submitted that the three            defences advanced by the Charterers
          plainly had no merit and had been raised with the objective of stifling and
          frustrating the Owners' claim, so that the Owners cannot obtain Award(s)
          promptly against the Charterers. The Owners submitted that the Tribunal
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        is   capable of determining their claims now and they therefore applied,
        pursuant to paragraph 22 of the Second Schedule to the LMAA Terms 2017
        ("the LMAA Terms"), for the Tribunal's immediate determination of the
        Owners'claim on documents only as set out above.

  76.   The Owners said that the application was being made simultaneously with
        service   of the Reply Submissions, as it            concerned procedural aspects
        immediately following service of Reply Submissions. They said that they had
        made this application to the Tribunal now, in order that the Tribunal was
        aware of the application before any other procedural directions were ordered.
        As a result, the content of the application had not been discussed in advance
        with the Charterers.

        The Charterers'resnonse to the application

  77.   The Charterers said that the Owners' application should be dismissed.

  78. First, the Claimant's application was made in contravention of                         the
        procedural requirements set out in the LMAA Terms. Paragraph                 1,4   of the
        Second Schedule to the LMAA Terms states               that   "[a]tt'y application to a
        tribuno,l for directioras as to procedura,I or euidential matters should, saue in
        exceptional circumstarLces, be rnade only after the other parties haue been
        afforded, an opportunity to dgree, within, 3 worhing days, the terrns of the
        directions proposed." There were,                they said, no such       exceptional
        circumstances here. The Claimant appears simply to have taken it upon itself
        to make the application without affording any opportunity to the Respondent
        to agree. Paragraph 14       goes on   to say that "[a]ny application that has not
        preuiously been discussed with the representatiues of such other parties and
        that does not fully record, the riual positions of tlt"e parties wiII normally simply
        be rejected by a   tribuna,l".

  79.   Second, whilst the application purports to be made under Paragraph 22 of
        the Second Schedule, they argued that there is no suggestion in Paragraph
        22 or elsewhere that the Terms contemplate a procedure in which, absent
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       agreement between the Parties, the Tribunal proceeds                    to an   immediate
       determination following the conclusion of the written submissions phase.
       Indeed, the LMAA Terms expressly state in Paragraph 11(a) of the Second
       Schedule that: "(Jnless the parties agree that the teference is ready to proceed
       to a,n award on the exclusiue basis of the written submi.ssions that haue
       already been serued, both parties must complete the Questionnaire set out in
       the Third Schedule within 14 days of the seruice of the final submission's as
       set out in paragraph 5 aboue". There had been no such agreement between
       the parties to depart from the procedure set out in the Second Schedule (and
       the Owners d.id not seek such agreement before making its application). As
       such, the parties should now proceed with completion of the Questionnaires,
       as set out    in Paragraph L1(a).

 80.   Third, had the Owners approached the Charterers regarding their procedural
       proposal, the Charterers would have rejected it as inappropriate, given the
       issues   in   dispute between the parties. The Charterers relied, inter alia,
       on force majeure as a defence to the Owners'claim. The Owners had engaged
       with that argument and raised various factual arguments by way of response.
       The Charterers said that they are entitled to support their legal case by
       reference to evidence, including statements of evidence of fact. This is
       precisely why the Questionnaires required by Paragraph 11(a) of the Second
       Schedute are to be submitted by the parties, so that their proposals regarding
       evidence and other matters can be put forward. Paragraph 12 notes that
       "subject to contrary agreement of the parties or a,n appropriate ruling by the
       tribunal,    the   parties wilt   be   required to exchange statements of euid'ence of fact
       (whether to be adduced in euidence under the Ciuil Euidence Acts or to stand
       as euid,ence in chief) as well as expert euidence couering areas agreed by the
       parties or ord,ered by the tribunal within a time scale agreed' by the parties or
       ordered by the tribunal".

 81.   Further, said the Charterers, they are entitled to propose that there be an
       oral hearing and that they be entitled to make oral submissions before the
       Tribunal. The effect of the Owners' application is to seek to preclude any
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        atgument by the Charterers that an oral hearing is appropriate or required.
        Whilst the LMAA Terms make provision for arbitrations on documents alone,
        Paragraph 14(b) of the LMAA Terms envisages that this should be the subject
        of agreement between the parties, not that it should be imposed by the
        application ofone party in disregard ofthe other.

  82. Fourth, the Charterers rejected any          suggestion   that t}re force   majeure
        argument had been made in "an attempt to stifle and frustrate" tble Owners'
        claim. The Charterers' force majeure argrrment is made in the specific
        circumstances of the current pandemic, which, like many others around the
        world, have resulted     in   extraordinary challenges     for the   Charterers'
        business. The Charterers noted that the Owners do not dispute that the
        COVID-l9 pandemic constitutes an event of force majeure under Clause 32
        of the charterparty. The Charterers said that they are entitled to make out
        the remaining elements of their claim by reference to the evidence and
        submissions required. The situation is not comparable to that in The "Kostas
        Melas".It is, in fact, the Owners who seek to stifle the Charterers' arguments.

  83.   The Charterers requested that the Tribunal dismiss the Owners' application
        and allow the parties to continue with the arbitration in accordance with the
        proper procedure set out in the Second Schedule to the LMAA Terms. To do
        otherwise, they argued, would prejudice them by depriving them of their
        fundamental right to put forward their case in full.

        The Owners' renly to the Charterers' response to the Owners
        application.

  84.   The Owners maintained their application.

  85.   They said that the key point underpinning the application is that they have
        a straightforward claim for unpaid hire and disbursements, and no challenge
        has been made by the Charterers to the validity of the Owners'invoices.

  86. Whilst the Charterers     had raised numerous defences to the claim, in the
        Owners' submission these defences plainly are without merit, and the
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     Tribunal can (and should) immediately proceed to issue Awards in respect of
     the Owners'claim for hire and disbursements.

 87. In reply to the substance ofthe     Charterers' response, the Owners argued:

     (1)    The alleged breach of the LMAA Terms.

            (i)    As set out in the final paragraph of the Owners' application, the
                   application was served simultaneously with the Reply
                   Submissions in order so that the Tribunal was aware of the
                   Owners' application before any other procedural directions were
                   ordered.

            (ii)   Whilst in normal circumstances, it is proper and appropriate that
                   the other party is afforded an opportunity to agree the content of
                   any application before the Tribunal are approached, the Owners'
                   concern in this case was that procedural directions (specifically an
                   order for exchange of LMAA Questionnaires) would be ordered
                   following service of the Reply Submissions before the Owners'
                   application had been received by the Tribunal. This would have
                   defeated the application before   it had been made.

      (2)   Should the next step be the exchange of Questionnaires?

            (i)     Under both the LMAA Terms and the Arbitration Act 1996, the
                    Tribunal has discretion to order appropriate procedural directions
                    to determine the claim advanced, and in particular pursuant to
                    Paragraph    22 of LMAA Terms to vary those that                 are

                    "contemplated o,boue" (i.e. those set out in the Second Schedule).
                    In normal cases, it is appropriate that foliowing close of pleadings,
                    the parties exchange LMAA Questionnaires, in order so that the
                    Tribunal and the parties can properly consider the next
                    procedural steps. However, in this case, pursuant to Paragraph
                    22, tlne Owners are submitting that        it is appropriate for a
                    "different course to be followed" because the Tribunal has all the
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                    information and submissions necessary to determine the Owners'
                    claim for unpaid hire and disbursements.

            (ii)   Further, the Owners submitted that the content of the Charterers'
                   response clearly indicated that they do not want the Owners'claim
                   to be determined promptly,      an.d   "in line with their tacties to date,
                   intend to delay determina,tion for this dispute as long       o,s   possible".

                   The Owners stressed that this is a straightforward claim for
                   (unchallenged) invoices for hire and disbursements, easily capable
                   of being determined on the submissions and documents served to
                   date, and    it is not necessary for LMAA Questionnaires to be
                   exchanged.

      (3)   Is   it appropriate to proceed to a frnal determination              now?

            (i)    The Owners submitted that each of the defences advanced by the
                   Charterers    in the Defence     Submissions are capable            of being
                   determined on the basis of the submissions and exhibits served to
                   date, and no further evidence or submissions is required.

            (iil The first      defence advanced      by the Charterers is that              the
                   commencement     of arbitration proceedings "was prenla,ture an"d
                   contrary to the spirit of cooperation and engageftrent that had,
                   preuailed prior to that point." In the Owners' submission, this is a
                   legal argument that has no merit whatsoever, and being a purely
                   legal point, the Tribunal does not require any further input from
                   the parties to determine it.

            (iil) The second defence advanced by the Charterers is that                      the
                   commencement of arbitration proceedings was contrary to COVID-
                   L9 guidance issued by theUK Government. Again, in the Owners'
                   submission, this argument has no merit whatsoever, as inter alia,
                   as the UK Government guidance is not applicable to the
                   contractual relationship between the Owners and the Charterers
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                 (neither being UK parties), and is expressly stated to be "non-
                 statutory guidance" which does not override contractual terms or
                 relief available at law. In the Owners' submission, this argument
                 is spurious and should be dismissed by the Tribunal without any
                 further input from the parties.

          (iv)   The third defence advanced by the Charterers is that           of. force

                 majeure. Again, this argument can be dismissed by the Tribunal
                 without any further input or evidence from the parties, for the
                 simple reason that the Vessel was redelivered and the
                 charterparty concluded on 17th January 2020, before there had
                 been any global impact of COVID-l9. Moreover, as set out in
                 paragraph      29 of the Reply Submissions, "insufficient cash
                 reserues",   which arise from contractual issues between Charterers
                 and Saudi Aramco cannot, under the wording of clause                32,

                 constitute a force rnajeure event. Further submissions or witness
                 evidence from the Charterers cannot change the fact that as a
                 matter of law, the Charterers are not entitled to rely on clause 32
                 to delay determination of liability for sums owed to the Owners.

          (v)    Even   if    clause 32 could have been validly triggered by the
                 eharterers (notwithstanding the fact that no notice of           force

                 majeure was given contemporaneously),      it   cannot retrospectively
                 affect the Charterers'obligation to pay debts that have already
                 accrued. Even if the Tribunal considers that the Charterers could,
                 in theory, rely on clause 32 due to COVID-19, it could only entitie
                 the Charterers to delay making payment in respect of invoices
                 which fell due after COVID-19 had impacted the Charterers'
                 operations. As such, the Charterers' assertion of force majeure
                 should not in any event prevent the Tribunal issuing Awards in
                 respect of invoices which fell due before COVID-l9 had an impact.
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          (vi)   The Owners submitted that an oral hearing is not required for this
                 matter. The claim       is for   uncontested invoices    for hire   and
                 disbursements, and determination of the simple (and obviously
                 flawed) legal defences asserted by the Charterers does not require
                 an oral hearing. This is analogous to the determination of claims
                 for unpaid hire, under Kostas Melas principles.

      (4) The Charterers' submission that the force maieure                  argument
          was not designed to stifle the claim

          (i)    The Owners submitted that        it is apparent   from the Charterers'
                 actions and the content of the Charterers'submissions to date that
                 the Charterers' aim is to seek to delay the determination of the
                 Owners' claim for as long as possible. This should not, said the
                 Owners, be permitted by the Tribunal, as unnecessary delay would
                 cause significant prejudice to the Owners, in circumstances where
                 the Owners have their own payment obligations in respect of the
                 vessel.

          (ii)   The Owners said that whilst the Charterers' had asserted that
                 they have a " fundamen tal right to put forward its case in full" , this
                 is tempered against s.l of the Arbitration Act 1996, which provides
                 t}nat "the object of arbitration   is to obtain the fair resolution of
                 disputes by an impartial tribuna'l without unnecesso'ry delay or
                 excpense".   The Owners submitted that the Charterers have already
                 had an opportunity to put forward their case in full through their
                 Defence Submissions, and from this      it is evident that none of the
                 Charterers' defences have legal merit. As such, said the Ownets,
                 the Charterers should not be permitted to cause "unnecessary
                 delay" to the arbitration and the Tribunal should immediately
                 proceed to determine the Owners' claim for hire and disbursements

                 on the basis of the documents and evidence before it.
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        Discussion and our findings

  88.   The starting point is to determine whether           it is appropriate to entertain      the
        application for an immediate determination now of the Owners' claim on the
        basis of the submissions served to             date. The Owners' application            was

        expressed to be pursuant to paragraph 22 of the Second Schedule of the
        LMAA Terms which provides:

             "22 Parties are at liberty to apply to a tribunal for directions which differ from those
             contemplated, a.baue, but any such application should, clearly explain wh,y it is
             appropriate for some different course to be followed."

        In their response to the application, the Charterers raised four objections and
        we deal with each in turn.

  89. First, they said that the application was made in contravention of the
      procedural requirements set out in the LMAA Terms in that it had not
        previously been discussed with them.

  90.   The Owners' response was that their concern in this case was that procedural
        directions (specifically an order for exchange of LMAA Questionnaires) would
        be ordered before their application had been received by the Tribunal, thus
        defeating the application before         it   had been made. For that reason, the
        application was served simultaneously with the Reply Submissions.

  91. This seemed to us to be eminently                reasonable     in that, had an order for
        directions (i.e., for service of Questionnaires) been made in the interim, that
        would have defeated the application before it had been heard.

  92. Accordingly,    we rejected this submisslon.

  93.   The Charterers' second objection was that, in the absence of an agreement
        between the parties to depart from the procedure set out                    in the Second
     'schedule, there was an obligation on both parties                        to   complete the
        Questionnaires.
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  94.   We agree with the Owners that, in this case,              it is appropriate for a"different
        course to be followed" because we have all the information and submissions
        necessary to determine the Owners'claim for unpaid hire and disbursements.

 95. The Charterers third argument, namely that the application                                       rs

        inappropriate, given the issues in dispute between the parties, and that it is
        appropriate that there be an oral hearing, we agree with the Owners that
        each of the defences advanced by the Charterers                in the Defence Submissions
        (including the "force majeure" defence) are capable of being determined on
        the basis of the submissions and the exhibits served to date and that                        no

        further evidence or submissions are required. We do not consider that an
        oral hearing is required for the fair determination of this matter. The
        Owners' claim is based on uncontested invoices for hire and disbursements
        and determination of the legal defences asserted by the Charterers does not
        require an oral hearing. We agree with the Owners that the application is
        analogous to the determination of claims for unpaid hire under Kostas Melas
        principles.

 96.    The fourth argument advanced by the Charterers, namely that they are
        entitled to make out the remaining elements of their claim "by reference to
        the euid,ence and submissions required" is ill-founded. We agree with the
        Owners that        this is a straightforward claim and one easily capable of
        determination on the basis of the submissions and documents before us. We
        bear in mind, of course, section 1 of the Arbitration Act 1996 which provides
        that:

                "The object of arbitration   is to obtain a fair resolution of d'isputes by an impartial
                tribunal without unnecessar!    d,elay or expense." (our emphasis added)


 97.    The Charterers have already had an opportunity to put forward their case rn
        full through their       Defence Submissions and we are               in a position now to
        determine the merits of the Charterers' defences.
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  98.   Accordingly, we have no hesitation in concluding that we should consider the
        application on its merits and on the basis of the submissions and documents
        presently before us.

  99.   We now turn to consider the three limbs of the Charterers' defence.

        I    ooThe commencement               of arbitration           proceedings       was
             premature.'o

  100. We agree with the Owners that there are no preconditions to the valid
        commencement of arbitration proceedings set out in clause 34:' rt simply
        provides that"a party wishing to refer a dispute to arbitration shall appoint
        its arbitrator arud, send, notice of such appointment    in writing to the other party
        requiring the other party to appoint its own a,rbitrator with,in 14 calendar
        days of that notice".

  101. The Owners served a notice of arbitration on 4th May 2020 after a dispute
        had arisen between the parties regarding payment of the Owners' invoices.

  102. There were numerous exchanges between the Owners and the Charterers in
        which the Owners sought a resolution of the dispute prior to the
        commencement of arbitration proceedings. In no way could it be said that
        the commencement of arbitration proceedings was premature.

  103. We reject the Charterers' assertion            that they 'Teplied constructiuely and
        honestly" to the Owners' requests for payment. Their various responses did
        not explain when payment would be made and simply represented an
        attempt to delay (or, as the Owners said justifiably, "stall"), makingpayment.

  104. We note   the Owners' position that they are entitled to commence and
        progress arbitration proceedings in order to obtain arbitration awards
        against the Charterers, in order that they can use the awards to claim under
        the Parent Company Guarantee issued by the Charterers' Parent Company,
        Dynamic Industries      Inc.   Given the cash flow difficulties asserted by the
        Charterers, the Owners are plainly entitled to obtain arbitration awards           so
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         that they can then seek to obtain payment in respect of sums owed by the
         Charterers from the Charterers' Parent Company.

  105. We agree with the Owners that not, only were they entitled pursuant to
         clause 34 to commence arbitration proceedings against the Charterers to
         pursue their claim, but were also justified in so doing.

         U     "The cotnnxencement of arbitration proceedings is contrary to UK
               Guidance on responsible contractual behauiour in the
               performance and enforcement of contracts impacted' by COVID-
               1g'

  106. We agree      with the Owners (for the reasons given by them) that the UK
         COVID-19 Guidance:

         (a)   is not applicable to the contractual relationship between the Owners
               and the Charterers (neither party being a UK party);

         (b)   is guidance only, and does not affect the Owners'rights and remedies
               available under the charterparty or at law;

         (c) in any event, even if the UK Covid-19            Guidance is applicable, it has not
               been breached bv Owners.

 1"07.   The Guidance is directed at UK companies and the UK economy, not to an
         international contract between the Owners and the Charterers, neither of
         which are UK entities @oth being Saudi Arabian companies). Moreover, the
         Guidance expressly states that"it is not non-statutory guidance" and it is not
         intended to override " any specific   .. .   relief auailable   ..   .   in the releuant contract
             [and]...   in law, custom or practice". Even had the                        Guidance been
         applicable, we do not consider that the Owners were                        in breach of it. In
         refusing    to make payment of the outstanding invoices (despite their
         contractual obligation to do so) and by failing to give any indication of the
         timeframe when payment would be made, the Charterers were effectively
         seeking an indefinite extension in the period for making payment of
Case 2:20-cv-03453-SM-DMD Document 1-5 Filed 12/23/20 Page 44 of 53

                                         -JJ-


       outstanding invoices, during which the Owners could not take any steps to
       obtain payment. That cannot have been the intention behind the Guidelines.

       ilI   Force Majeure

  108. We agree with the Owners that there is a need to establish a causal link
       between the force rnajeure event and the inability to perform. In this case
       there is no causal link between the alleged force rna,jeure events complained
       of by the Charterers and the Charterers'failure to pay the Owners'invoices.
       The vessel was redelivered on 17th January 2020, before there had been any
       global impact of COVID-19 and before the    initial lockdowns on Wuhan and
       other cities in Hubei Province in China were imposed on 23"d January    202O.

       The charterparty had been performed and concluded before the impact of
       COVID-l9 and the only outstanding obligation is for the Charterers to make
       payment of the Owners' outstanding invoices, which is not an obligation
       affected by clause 32.

  109. Most of the invoices fell due prior to 31.t January 2020. There is no basis on
      which the Charterers could contend that payment of those invoices was"dlle
       to" ov "preuented or hind,ered"by the impact of COVID-l9. The four invoices
      which fell due on 2'd March, 29th April, 29th April and 30th April 2020
      respectively relate to the performance of the charterparty provided by the
      Owners prior to the impact of COVID-19.

 110. It is apparent from the Charterers'Defence Submissions that the real reason
      that they failed to make payment to the Owners (the dominant and effective
      cause)   is that they have 'irvsufficient cash reserues" because of issues
      regarding the projects between them and Aramco. "Insufficient cosh reserues"
      is not a force majeure event and any delay in the "resolution of numerous
      change orders and rela,ted claims" or failure to receive payment from Aramco
      cannot excuse the Charterers' failure to pay the Owners' invoices due under
      the charterparty. We agree with the Owners that they are entirely separate
      contracts and the parties did not agree that the Charterers' liability to pay
Case 2:20-cv-03453-SM-DMD Document 1-5 Filed 12/23/20 Page 45 of 53

                                           -34 -


       the Owners' invoices would be contingent on the Charterers receiving
       payment from third parties.

       Conclusion

  111. We have no hesitation in concluding that the Owners are entitled to the relief
       that they have sought, namely:

       (1)   an award for US$3,998,167.80 in respect of the outstanding principal
             debt owed to the Owners under the charterparty;

       (2)   costs (in line   with the usual rule that costs follow the event as per
             section 61(2) of the Arbitration Act 1996);

       (3)   interest at the contractual rate of 2% per month, to run from the due
             date of each of the invoices set out in the table in paragraph 4 above
             until payment.
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IN THE MATTER OF THE ARBITRATION ACT 1996
AND
IN THE MATTER OF AN ARBITRATION

BETWEEN:.




                      POSH SAUDI CO. LTD.
                      of Dammam, Saudi Arabia
                                                          Claimants
                                                          (Owners)

                                   and

            DYNAMIC INDUSTRIES SAUDI ARABIA LTD.
                    of Al Khobar, Saudi Arabia
                                                          Respond.ents
                                                          (Charterers)




                         *POSH ENDEAVOUR''


                    Charterpartv dated l.t October 2018



                     FINAL ARBITRATION AWARD
                             AND REASONS
   Case 2:20-cv-03453-SM-DMD Document 1-5 Filed 12/23/20 Page 47 of 53




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                                                                                                                                Clyde & Co Clasis Singapore Pte. Ltd.
                                                                                                                                            12 Marina Boulevard #30-03
 By Email                                                                                                                         Marina Bay Financial Centre Tower 3
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Dentons UK and Middle East LLP                                                                                                                Telephone: +65 6544 6500
                                                                                                                                               Facsimile: +65 6544 6501
Attn          James Langley / Matthew Turner                                                                                                              www.clydeco.com


                                                                                                                                                paul.collier@clydeco.com
                                                                                                                                              ikwei.chong@clydeco.com




Our Ref                                                       Your Ref                                                    Date:

PMC/|WC/10220703                                                                                                          16 September2020


Dear Sirs

POSH SAUDICO. LTD v DYNAMIC INDUSTRIES SAUDIARABIA LTD
'POSH ENDEAVOUR" CHARTERPARTY DATED 1 OCTOBER 2018

       1. As you know, we act for POSH Saudi Co. Ltd ("Owners") in the above                                                                                  referenced
             arbitration proceedings against Dynamic lndustries SaudiArabia Ltd ("Charterers").

      2.     We write further to the Final Arbitration Award dated 2 September 2020, a copy of which is
             enclosed with this letter.

      3.     The FinalArbitration Award from the Tribunal states as follows:

                           "(A)   Wthat                                              the Owners'claim in the sum of US$3,998,167.80
                           succeeds in full.

                          (B) WE THEREFORE AWARD AND ADJUDGE that the Charterers shallforthwith
                          pay to the Owners the said sum of US$3,998,167.80 (Three Million Nine Hundred
                          and Ninety Eight Thousand, One Hundred and Sixty-Seven United Sfafes Dollars
                          and eighty cents) PLUS interest at the contractual rate of 2% per month from the
                          due date of each of the invoices sef out in paragraph 4 of our Reasons until the date
                          of payment.

                          (C) WE FURTHER AWARD AND ADJUDGE:
                          (i) that the Charterers shall bear their ourn cosfs and pay the Owners' cosfs of the
                          reference (and the Owners'sald cosfs may, if not agreed, be determined by us or in
                          the High Court in London in the Owners' option on the basrs sef out in s.63(5) of the
                          Arbitration Act), for which purpose WE HEREBY RESERVE                               to                              JU
                          make a subsequent Award of Cosfs;
                          (ii) that the Charterers sha// further bear and pay the cosfs of this our Final
                          Arbitration Award (inclusive of our fees and interlocutory charges in relation hereto)
                          in the sum of 816,800, PROVIDED ALWAVS that if, in the first instance, the
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& Co Clasis Singapore Pte. Ltd., or a pe6on wilh equivalent standing as a member of Clyde & Co LLP.
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              Owners shall have paid any amount in respect of fhe cosfs of this our Award they
              shall be entitled to immediate reimbursement of any sum or surns so paid; ANp

              (iii) that the Charterers shall pay interest on any sums payable to the Owners under
              sub-paragraph C(i) and (ii) above at the rate of 4.5% (four and one-half per cent)
              per annum or pro rata compounded at three-monthly rests from the date of this our
              Final Arbitration Award untilthe date of payment or reimbursement as appropriate."

  4.   Pursuant to the Final Arbitration Award, the following amounts are owed to Owners by
       Charterers:

          (1) US$3,998,167.80 in respect of the principal sum Awarded            to   Owners by the
              Tribunal (as per paragraphs (A and B));
          (2) lnterest at the contractual rate of  2o/o p$ month, from the due date of each of
              Owners' invoices until the date of payment (as per paragraph (B));
          (3) Owners' costs of the reference (as per paragraph (C(i));
          (4) t8,400 in relation to the payment made by Owners to the Tribunal in respect of 50o/o
              of the Tribunal's fees of f 16,800 (as per paragraph (C(ii));

          (5) lnterest on (3) and (4) above at the rate of 4.5o/o per annum or pro rata from the date
              of the Final Arbitration Award (2 September 2020) compounded at three monthly
              rests to the date of payment (as per paragraph (C(ii)).

  5.   Owners have calculated their costs of this referenee as US$25,828 and GBP 525 as per
       the cost schedule set out at Annex 1 to this letter. Owners invite Charterers to confirm
       agreement to pay these costs, which are plainly both reasonable and proportionate in light
       of the amount in dispute.

  6.   Owners HEREBY DEMAND that the above sums, namely US$3,998,167.80 in respect of
       the principal sum awarded, plus costs of f8,925 and US$25,828 together with interest as
       set out above are paid forthwith, and in any event within 14 calendar days of the date of this
       letter, to the following account of Owners:

              Bank Account No: 3272498940440

              Bank Name: Riyad Bank
              City: Dammam.
  7.   ln the event that payment is not received within 14 calendar days (i.e. by 30 September
       2020) then Owners reserve the right to:

          (a) take action to enforce the Final Arbitration Award against the assets of Dynamic
              lndustries Saudi Arabia Ltd; and/or
          (b) to commence proceedings against Dynamic lndustries lnc under the Parent
              Company Guarantee.

       Please be guided accordingly. Owners also reserve the right to take any other action
       against Charterers they consider necessary in circumstances of Charterers' default.

  B.   Should Charterers not agree to pay Owners'costs as set out in paragraph 5, then Owners
       will proceed to apply to the Tribunal for an Award in respect of their costs of US $25,828
       and GBP 525. ln any event, any dispute raised by Charterers in respect of Owners' costs
       cannot delay payment of the principal sum of US$3,998,167.80 orthe sum of f8,400 paid

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         by Owners in respect of the Tribunal's fees, together with interest owed on these sums,
         which as per the Final Arbitration Award, are payable forthwith.

    9.   Needless to say, any delay in Charterers in making payment will result in further interest
         falling due to Owners.

    1O.Owners look forward to receiving confirmation within 14 days (i.e. by no later than 30
       September 2020) thal payment of the sums set out in paragraph 4 have been remitted to
       Owners in full, together with documentary evidence of payment.

All Owners'rights remain fully reserved.


Yours faithfully




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Clyde & Co Clasis Singapore Pte. Ltd

Enc.




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 Case 2:20-cv-03453-SM-DMD Document 1-5 Filed 12/23/20 Page 50 of 53




Annex 1: Owners' Statement of Gosts
POSH SAUDI CO. LTD v DYNAMIG INDUSTRIES SAUDIARABIA LTD
,.POSH ENDEAVOUR' . CHARTERPARTY DATED 1 OCTOBER 2018

Casehandler      Hourly Rate (US$)   Time           Total(US$)
                                     Attending
                                     Matter
                                     (Hours)

lk Wei Chong     570                 5.5            3,1 35
(Partner)

PaulCollier      450                 46.5           20,925
(Senior
Associate)

Asyraf lsnin     340                 5.2            1,768
(Associate)

                                     rorAL (us$):   25,828



Disbursements: appointment fee of Mr. Edward Mocatta (GBP 350) and 50% of appointment fee of
Mr. Baker-Harber (GBP 175) totalling GBP 525.




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                                                                                                                               Crnsls                        in:,-r*lr:
                                                                                                                               Clyde & Co Clasis Singapore Pte. Ltd.
                                                                                                                                            '12 Marina Boulevard #30-03

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Dentons UK and Middle East LLP                                                                                                                Telephone: +65 6544 6500
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                                                                                                                                              ikwei.chong@clydeco.com




Our Ref                                                       Your Ref                                                    Date:

PMC/|WC/10220703                                                                                                          B October 2020



Dear Sirs

POSH SAUDICO. LTD v DYNAMIC INDUSTRIES SAUDIARABIA LTD
"POSH ENDEAVOUR'' - CHARTERPARTY DATED 1 OCTOBER 2018

       1.    We write further to our letter dated 16 September 2020

      2.     Our letter dated 16 September 2020 requested that Dynamic lndustries Saudi Arabia Ltd
             ("Gharterers") make payment to POSH Saudi Co. Ltd ("Owners") of the principal sum of
             US$3,998,167.80 plus interest and costs awarded by the Tribunal in the Final Arbitration
             Award dated 2 September 2020.

      3.     The deadline for any possible appeal to the Final Arbitration Award io be filed has expired,
             meaning that the Award is final and unappealable.

      4.     We have not received any response to our letter dated 16 September 2020 and Charterers
             have not made any payments in respect of the sums outstanding to Owners.

      5.     Moreover, Charterers have failed to pay the sums of US$25,828 and GBP 525 calculated
             by Owners as their costs in this reference (set out in Annex 1 to this letter and our letter
             dated 16 September 2020). Charterers have also failed to confirm their agreement to pay
             these costs.

      6.     Owners therefore put Charterers on notice that:

                   a.     Should Charterers fail to confirm their agreement to pay the sums of US$25,828
                          and GBP 525 to Owners within 7 days of the date of this letter, Owners will forthwith
                          apply to the Tribunal for a subsequent Award of Costs;

                     b.   Should Charterers fail to pay Owners the principal sum of US$3,998,167.80 and
                          [8,400 in respect of Owners' payment to the Tribunal, together with interest due
                          thereon, within 7 days of the date of this letter, then Owners intend to proceed to
                          take further legal action against the assets of Dynamic lndustries Saudi Arabia Ltd
                          and/or against Dynamic lndustries lnc under the Parent Company Guarantee.

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    7.   Owners look forward to hearing from Charterers within 7 days; i.e. by no later than 15
         October 2020.

All Owners'rights remain fully reserved.

Yours faithfully




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Clyde & Co Clasis Singapore Pte. Ltd




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 Case 2:20-cv-03453-SM-DMD Document 1-5 Filed 12/23/20 Page 53 of 53




Annex 1: Owners' Statement of Gosts
POSH SAUDICO. LTD v DYNAMIC INDUSTRIES SAUDIARABIA LTD
"POSH ENDEAVOUR" - CHARTERPARTY DATED 1 OCTOBER 2018

Gasehandler      Hourly Rate (US$)   Time            Total (US$)
                                     Attending
                                     Matter
                                     (Hours)

lk Wei Chong     570                 5.5             3 1 35
(Partner)

PaulCollier      450                 46.5            20,925
(Senior
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Asyraf lsnin     340                 5.2             1,768
(Associate)

                                     rorAl   (us$)   25,828



Disbursements: appointment fee of Mr. Edward Mocatta (GBP 350) and 50% of appointment fee of
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